                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                       BIG STONE GAP DIVISION

 DEBRA COLLEY,                                 )
                                               )
                     Plaintiff,                )     Case No. 2:17CV00003
                                               )
 v.                                            )     OPINION AND ORDER
                                               )
 DICKENSON COUNTY SCHOOL                       )     By: James P. Jones
 BOARD, ET AL.,                                )     United States District Judge
                                               )
                     Defendants.               )

       John P. Fishwick, Jr. and Monica L. Mroz, Fishwick & Associates PLC,
 Roanoke, Virginia, for Plaintiff; Jim H. Guynn, Jr., Guynn & Waddell, P.C.,
 Salem, Virginia, for Defendant Dickenson County School Board, Haydee
 Robinson, John Skeen, Don Raines, and R.E. Nickles; Melissa W. Robinson and
 Johneal M. White, Glenn Robinson Cathey Memmer & Skaff, PLC, Roanoke,
 Virginia, for Defendants Susan Mullins and Rocky Barton.

       In this employment discrimination case, the defendants have filed objections

 to the Memorandum Order of the magistrate judge dated November 21, 2017, ECF

 No. 40, on a nondispositive matter. The issue involved motions to quash by the

 defendants of a subpoena served on an attorney for the Dickenson County School

 Board, with the defendants contending that certain of the documents sought by the

 subpoena were privileged under the attorney-client privilege or the attorney work-

 product doctrine.

       The magistrate judge denied the motions to quash on the ground that the

 defendants had not met their burden to show that the documents in question were



Case 2:17-cv-00003-JPJ-PMS Document 44 Filed 12/18/17 Page 1 of 3 Pageid#: 290
 in fact subject to the privileges, since they had not provided any evidence as to

 what in fact the documents said, and simply made the conclusory statement that

 they were protected. In their objections, the defendants argue that the court could

 infer the subject matter of the documents, based upon the allegations of the

 Complaint. In addition, they contend that the privilege log produced was prima

 facie evidence of privilege. Finally, as an alternative, they request that this court

 permit the submission of the documents in question for an in camera inspection. 1

        It is within my discretion to receive and consider additional evidence when

 considering objections to nondispositive decisions by a magistrate judge. United

 States v. Caro, 461 F. Supp. 2d 478, 480 n.2 (W.D. Va. 2006). In deciding matters

 of privilege, it is often appropriate for the court to review the disputed documents

 in camera. See United States v. Zolin, 491 U.S. 554, 568-69 (1989). Such review

 by itself does not terminate the privilege. Id. at 568.

        Accordingly, in connection with my consideration of the objections to the

 magistrate judge’s decision, I will direct the defendants to provide copies of the

 allegedly privileged documents to me for my in camera review.

        It is ORDERED that the defendants forthwith submit to the chambers of the

 undersigned, without filing on the record, the documents in dispute.



        1
           The plaintiff also suggested this alternative in her brief to the magistrate judge
 in opposition to the motions to quash. Opp’n Defs.’ Mots. to Quash 12, ECF No. 36.

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Case 2:17-cv-00003-JPJ-PMS Document 44 Filed 12/18/17 Page 2 of 3 Pageid#: 291
                                         ENTER: December 18, 2017

                                         /s/ James P. Jones
                                         United States District Judge




                                     3
Case 2:17-cv-00003-JPJ-PMS Document 44 Filed 12/18/17 Page 3 of 3 Pageid#: 292
